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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :      Case No:
                                              :
               v.                             :
                                              :      VIOLATIONS:
                                              :
JOHN HERBERT STRAND,                          :
SIMONE MELISSA GOLD                           :      18 U.S.C. § 1752(a),
                                              :      (Restricted Building or Grounds)
               Defendants.                    :
                                              :      40 U.S.C. § 5104(e)(2)
                                              :      (Violent Entry or Disorderly Conduct)

               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                           AND ARREST WARRANT

       I, LaNard Taylor, Special Agent with the Federal Bureau of Investigation (“FBI”),

being duly sworn, deposes and states under penalty of perjury that the following is true to the

best of my information, knowledge and belief.

                                  PURPOSE OF AFFIDAVIT

       1.      This Affidavit is submitted in support of a Criminal Complaint charging JOHN

HERBERT STRAND (“STRAND”) and SIMONE MELISSA GOLD (“GOLD”) with violations

of 18 U.S.C. § 1752(a) and 40 U.S.C. § 5104(e)(2). I respectfully submit that this Affidavit

establishes probable cause to believe that STRAND and GOLD (1) did knowingly enter or

remain in any restricted building or grounds without lawful authority, or did knowingly, and with

intent to impede or disrupt the orderly conduct of Government business or official functions,

engage in disorderly or disruptive conduct, and (2) did willfully and knowingly engage in

disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings

with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or

either House of Congress, or the orderly conduct in that building of any deliberations of either
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House of Congress. Specifically, on or about January 6, 2021, STRAND and GOLD traveled to

Washington, D.C., and knowingly and willfully joined a crowd of individuals who forcibly

entered the U.S. Capitol and impeded, disrupted, and disturbed the orderly conduct of business

by the United States House of Representatives and the United States Senate.

                                    AGENT BACKGROUND

       2.      I have been a Special Agent with the FBI since June 2016. I am presently

assigned to the Washington Field Office’s International Corruption Squad, where I am

responsible for investigating Antitrust, Foreign Corrupt Practices Act, and Kleptocracy

violations. I was previously assigned to the FBI’s Los Angeles Field Office, where I was

responsible for investigating public corruption, fraud against the government, violent crime,

narcotics offenses, and a host of other violations of federal law. Prior to my employment with the

FBI, I was a law enforcement officer in the State of Florida for four years, where I investigated

crimes relating to fraud, narcotics, violent crimes, and a variety of other criminal acts.

       3.      I am one of the agents assigned to an ongoing investigation of riots and civil

disorder that occurred on January 6, 2021 in and around the United States Capitol grounds by the

FBI, United States Capitol Police (“USCP”), Metropolitan Police Department (“MPD”) and

other law enforcement agencies. Since I became involved in this investigation on January 6,

2021, I have conducted interviews, reviewed public tips, reviewed publicly available photos and

video, and reviewed relevant documents, among other things.

       4.      The facts in this affidavit come from my review of the evidence, my personal

observations, my training and experience, and information obtained from other agents and

witnesses. Except as explicitly set forth below, I have not distinguished in this affidavit between

facts of which I have personal knowledge and facts of which I have hearsay knowledge. This
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affidavit is intended to show simply that there is sufficient probable cause for the requested arrest

warrant and does not set forth all of my knowledge about this matter.

                                         BACKGROUND
       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, located at First Street Southeast, Washington, District of Columbia.

During the joint session, elected members of the United States House of Representatives and

Senate met in the United States Capitol to certify the vote count of the Electoral College for the

2020 Presidential Election, which took place on November 3, 2020.

       6.      The U.S. Capitol is secured 24 hours a day by security barriers and USCP occupy

various posts throughout the grounds. Restrictions around the U.S. Capitol include permanent

and temporary security barriers and posts manned by USCP. USCP officers wore uniforms with

clearly marked police patches, insignia, badges, and other law enforcement equipment. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol. On

January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of the public.

       7.      The January 6, 2021 joint session began at approximately 1:00 p.m. Shortly

thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate chambers to

resolve a particular objection. Vice President Michael R. Pence was present and presiding, first

in the joint session, and then in the Senate chamber.

       8.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building and USCP were present, attempting to keep the crowd away from

the Capitol building and the proceedings underway inside. As the certification proceedings were

underway, the exterior doors and windows of the Capitol were locked or otherwise secured.
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       9.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and past officers of the USCP, and the crowd advanced to

the exterior façade of the building. The crowd was not lawfully authorized to enter or remain in

the building and, prior to entering the building, no members of the crowd submitted to security

screenings or weapons checks by the USCP or other authorized security officials.

       10.     A short time later, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. As such, all proceedings

of the United States Congress, including the joint session, was effectively suspended until shortly

after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful

entry to the U.S. Capitol, including the danger posed by individuals who had entered the U.S.

Capitol without any security screening or weapons check, Congressional proceedings could not

resume until after every unauthorized occupant had left the U.S. Capitol, and the building had

been confirmed secured. The proceedings resumed at approximately 8:00 pm after the building

had been secured. Vice President Pence remained in the United States Capitol from the time he

was evacuated from the Senate Chamber until the sessions resumed.

       11.     During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

                STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

       12.     Beginning on or about January 7, 2021, the investigative agencies began receiving

tips from the public related to the civil unrest and breach of the Capitol and several identified
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STRAND and GOLD as being involved. Many of the tips included photographs of STRAND

and GOLD inside of the Capitol on January 6, 2021 as shown below.




       13.     In another tip, a witness wrote, “An old acquaintance was posting pictures of

himself taking over the capitol yesterday. He was calling for a revolution on his social media

accounts…[i]ndividual broke into the capital building and is paid to promote propaganda on his

website.”

       14.     Law enforcement agents retrieved a driver’s license photograph of both

STRAND, DOB                , and GOLD, DOB                  both residents of California, and

confirmed each were consistent in appearance with the pictures above.

       15.     Also on January 7, 2021, Twitter account @TheJohnStrand, believed to be used

by STRAND, posted a photograph in which STRAND was seen wearing a black jacket, pink

scarf, and dark sunglasses, which appeared to be consistent with the photographs of STRAND

and GOLD above. The photograph appeared to be taken on the steps of the Capitol. The
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photograph, shown below, also included the caption “I am incredibly proud to be a patriot today,

to stand up tall in defense of liberty & the Constitution, to support Trump & #MAGAforever, &

to send the message: WE ARE NEVER CONCEDING A STOLEN ELECTION.”




       16.     Several media outlets broadcasted coverage of the Capitol breach and recorded

videos. In their coverage of the events, CNN posted a video to its website entitled “See stunning

video of rioters inside Capitol” (https://www.cnn.com/videos/politics/2021/01/06/protestors-

breached-capitol-reax-washington-dc-protest-congress-electoral-college-vpx.cnn). In the video,

timestamped 2:27-2:29 p.m., a man and woman consistent in appearance with the above pictures

of STRAND and GOLD can be seen walking with a companion through National Statuary Hall,

which is located inside the Capitol.

       17.     On January 6, 2021, a member of the news media posted a video to Twitter

entitled “Statuary Hall being slowly cleared out,” at 2:58 p.m. In the video, a man bearing

resemblance to STRAND can be seen with a recording device. The man was recording a woman,

consistent in appearance with GOLD, giving a speech to a small gathering of people.

       18.     On January 7, 2021, at approximately 9:07 a.m, Twitter account @TheJohnStrand

re-posted a video entitled “Trump Supporter Gets Shot And Murdered The US State Capitol!”
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The video was posted with the caption “I was there. This is inexcusable.” The tweet was tagged

as posted “from Washington, DC” with “Twitter for iPhone.”

       19.     A review of several tweets from account holder @TheJohnStrand include the term

“Twitter for iPhone.” Based on my training and experience, I understand Twitter account holders

who own or possess Apple iPhones can download the Twitter application from the “App Store.”

Once the application is loaded to the phone and the user broadcasts a tweet, often it is tagged

with the term “Twitter for iPhone.”

       20.     An open source search of social media depictions from January 6, 2021,

uncovered several videos and photographs of persons consistent in appearance with STRAND

and GOLD inside of the Capitol. Some of the photographs are below.
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       21.     Video posted to the Getty Images database online

(https://www.gettyimages.com/detail/video/mob-of-pro-trump-rioters-and-protesters-break-into-

the-u-news-footage/1294938866) shows what appears to be STRAND and GOLD in a large

crowd attempting to push past multiple officers blocking the entrance to the Capitol, which had

visibly broken windows at the time. One of the officers, who had been pinned near the doors to

the Capitol, appears to be pulled down by someone in the crowd and lands near where STRAND

and GOLD were standing.




       22.     I conducted an initial review of some of the surveillance footage from

surveillance cameras installed inside the Capitol on January 6, 2021. During my review, I saw

what appears to be STRAND and GOLD (as depicted in the pictures above) enter the Capitol

through the Rotunda door and walk throughout various parts of the building, consistent with their

locations as captured in the other various videos described above .

       23.     On January 8, 2021, agents from the FBI interviewed witness 1 (“W1”) who

identified STRAND as the person on an FBI wanted poster from the Capitol breach. W1 met

STRAND approximately ten years ago and had a personal relationship with him. W1 provided a

phone number for STRAND, which was consistent with the phone number the investigative

agencies believed STRAND uses.

       24.     On January 12, 2021, The Washington Post published an article titled: “‘I do
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regret being there’: Simone Gold, noted hydroxychloroquine advocate, was inside the Capitol

during the riot”. The article features an additional photograph of what appears to be GOLD

inside the Capitol giving a speech, as captured in the video described in paragraph 17 above. In

the article, the writer quotes GOLD as stating the following in a phone interview: “I can

certainly speak to the place that I was, and it most emphatically was not a riot,” and "Where I

was, was incredibly peaceful.” According to the article, GOLD confirmed that she went inside

the Capitol, saying she followed a crowd and assumed that it was legal to do so, further noting

that she was inside for about 20 minutes and regretted being there. According to the article,

GOLD added that she traveled to Washington D.C. to speak at a “Rally for Health Freedom” on

the East side of the Capitol on Wednesday afternoon. According to the article, GOLD claimed

to have attended the rally along with John Strand, who was there to “ensure her safety.” The

article included the photograph below, which was credited to John Strand.
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                                       CONCLUSION

      For the reasons set forth above, I submit there is probable cause to believe that STRAND

and GOLD, violated:

   1. 18 U.S.C. § l752(a), which makes it a crime to (1) knowingly enter or remain in any

      restricted building or grounds without lawful authority to do; (2) knowingly, and with

      intent to impede or disrupt the orderly conduct of Government business or official

      functions, engage in disorderly or disruptive conduct in, or within such proximity to, any

      restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts

      the orderly conduct of Government business or official functions; or (3) knowingly, and

      with the intent to impede or disrupt the orderly conduct of Government business or

      official functions, obstruct or impede ingress or egress to or from any restricted building

      or grounds. For purposes of Section 1752 of Title 18, a restricted building includes a

      posted, cordoned off, or otherwise restricted area of a building or grounds where the

      President or other person protected by the Secret Service is or will be temporarily

      visiting; or any building or grounds so restricted in conjunction with an event designated

      as a special event of national significance; and

   2. 40 U.S.C. § 5l04(e)(2), which makes it a crime for an individual or group of individuals

      to willfully and knowingly (A) enter or remain on the floor of either House of Congress

      or in any cloakroom or lobby adjacent to that floor, in the Rayburn Room of the House of

      Representatives, or in the Marble Room of the Senate, unless authorized to do so

      pursuant to rules adopted, or an authorization given, by that House; (D) utter loud,

      threatening, or abusive language, or engage in disorderly or disruptive conduct, at any

      place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt,
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       or disturb the orderly conduct of a session of Congress or either House of Congress, or

       the orderly conduct in that building of a hearing before, or any deliberations of, a

       committee of Congress or either House of Congress; (E) obstruct, or impede passage

       through or within, the Grounds or any of the Capitol Buildings; or (G) parade,

       demonstrate, or picket in any of the Capitol Buildings.




As such, I respectfully request that the court issue an arrest warrant for STRAND and GOLD. The

statements above are true and accurate to the best of my knowledge and belief.

                                                             Respectfully Submitted,




                                                             LaNard Taylor
                                                             Special Agent
                                                             Federal Bureau of Investigation




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone, this 13th day of January 2021.


                                                     ___________________________________
                                                           G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE
